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 4
     Attorney for DAVID JAMES McCABE,
 5   Defendant
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) No. CR.S-07-232-DLJ
                                        )
12                  Plaintiff,          ) STIPULATION AND ORDER
                                        )
13        v.                            )
                                        )
14                                      )
     GARY MICHAEL HULSEY, KENNETH       )
15   RITCHIE ROBERTS and DAVID          )
     JAMES McCABE,                      )
16                                      )
                    Defendants.
17
18
19        It is hereby stipulated and agreed by and between the parties
20   hereto and their counsel that the status conference now scheduled for
21   October 23, 2007, shall be vacated and re-calendared for November 6,
22   2007, at 9:00 a.m.
23        This continuance is sought for the following reasons:            as to
24   defendant McCabe, the Government is in the process of preparing a
25   written plea agreement and additional time will be required for the
26   defendant and his counsel to confer concerning the proposed agreement;
27   and, as to defendants Hulsey and Roberts, their counsel remain in the
28                                         ///


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 1   process of conducting investigation and negotiations concerning
 2   forfeiture of property.
 3        The parties further stipulate and agree that time should be
 4   excluded through November 6, 2007, from computation under the Speedy
 5   Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) (Local Code T-4) in
 6   order to afford the defense reasonable time for preparation of the
 7   case.
 8   Dated:    October 17, 2007                        /s/ Candace A. Fry
                                                     CANDACE A. FRY, Attorney for
 9                                                   DAVID JAMES McCABE, Defendant
10   Dated:    October 17, 2007                      McGREGOR W. SCOTT
                                                     United States Attorney
11
                                                       /s/ Candace A. Fry for
12                                                   MICHAEL M. BECKWITH,
                                                     Assistant U.S. Attorney
13
14   Dated:    October 17, 2007                      DANIEL BRODERICK
                                                     Federal Defender
15
                                                       /s/ Candace A. Fry for
16                                                   MATTHEW C. BOCKMON,
                                                     Assistant Federal Defender,
17                                                   Attorney for GARY M. HULSEY,
                                                     Defendant
18
     Dated:    October 17, 2007                        /s/ Candace A. Fry for
19                                                   CHRISTOPHER HAYDN-MEYER,
                                                     Attorney for KENNETH R.
20                                                   ROBERTS, Defendant
21                                                   (Signed for all counsel with
                                                     their prior authorization)
22
23                                        O R D E R
24        IT IS SO ORDERED.
25
                 Dated: October 22, 2007
26
27                                 /s/ D. Lowell Jensen
                                   D. LOWELL JENSEN
28                                 U.S. DISTRICT COURT JUDGE


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